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     8                             UNITED STATES DISTRICT COURT
     9                            CENTRAL DISTRICT OF CALIFORNIA
   10                               WESTERN DIVISION – Los Angeles
   11
   12 YUGA LABS, INC.,                                 Case No.: 2:22-cv-04355-JFW-JEM
   13                       Plaintiff and              [PROPOSED] ORDER GRANTING
                            Counterclaim Defendant,    PLAINTIFF YUGA LABS, INC.’S
   14                                                  EX PARTE APPLICATION FOR A
                 v.                                    PROTECTIVE ORDER
   15
         RYDER RIPPS, JEREMY CAHEN,
   16
                            Defendants and
   17                       Counterclaim Plaintiffs.
   18
   19            Having considered Plaintiff Yuga Labs, Inc.’s (“Yuga Labs”) Ex Parte
   20 Application for a Protective Order and the accompanying declaration and exhibits
   21 [and Defendants Ryder Ripps and Jeremy Cahen’s response], IT IS HEREBY
   22 ORDERED as follows:
   23            Yuga Labs has satisfied the requirements of Local Rules 7-19 and 37-3 for
   24 bringing this ex parte application on a discovery matter, including because the
   25 premature depositions of Yuga Labs’ co-founders and Co-Presidents Wylie Aronow
   26 and Greg Solano would cause irreparable injury and prejudice not attributable to the
   27 lack of diligence by Yuga Labs.
   28

         [PROPOSED] ORDER GRANTING PLAINTIFF’S                     Case No. 2:22-cv-04355-JFW-JEM
         EX PARTE APPL. FOR PROTECTIVE ORDER
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     1           Under Fed. R. Civ. P. 26(c), courts may “issue an order to protect a party or
     2 person from annoyance, embarrassment, oppression, or undue burden or expense.”
     3 “[F]or depositions of high-ranking executives or officials – so-called ‘apex’
     4 witnesses – the burden is placed on the party seeking the deposition to show
     5 extraordinary circumstances justify the deposition. This rule arises out of the
     6 ‘tremendous potential for abuse or harassment’ inherent in such a deposition.” Greer
     7 v. Cnty. of San Diego, No. 19-CV-378-JO-DEB, 2022 WL 2134601, at *1 (S.D. Cal.
     8 June 14, 2022) (citation omitted); Pilot, Inc. v. Cub Elecparts, Inc., No. CV 14-9647-
     9 GW-PLAx, 2015 WL 13918235, at *2 (C.D. Cal. Dec. 7, 2015) (same). A party
   10 seeking apex depositions should therefore “first attempt to obtain the sought
   11 information through the less burdensome means of discovery . . ., including the Rule
   12 30(b)(6) corporate deposition.” Gauthier v. Union Pac. R. Co., No. CIVA1:07CV12
   13 (TH/KFG), 2008 WL 2467016, at *4 (E.D. Tex. June 18, 2008); see also Anderson
   14 v. Cnty. of Contra Costa, No. 15-CV-01673-RS (MEJ), 2017 WL 930315, at *4
   15 (N.D. Cal. Mar. 9, 2017) (requiring party ordered to “first depose a Rule 30(b)(6)
   16 witness . . ., then meet and confer . . . about the necessity and scope of [the apex
   17 witness’s] deposition.”).
   18            Wylie Aronow and Greg Solano are apex employees of Yuga Labs. They are
   19 the co-founders and Co-Presidents of an international corporation that operates
   20 multiple brands in addition to the one at issue in this litigation and currently employs
   21 over one hundred individuals. Accordingly, it is well established that prior to taking
   22 their depositions, Defendants must first show that they have been unable to obtain
   23 the information they seek through less-burdensome means of discovery.                    At
   24 minimum, Defendants must take the 30(b)(6) deposition of Yuga Labs that is already
   25 noticed and scheduled for January 24, 2023, and then meet and confer with Yuga
   26 Labs on whether (and to what extent) apex depositions remain necessary.
   27            Accordingly, the Application is GRANTED. Defendants are ORDERED not
   28 to proceed with the noticed depositions of Wylie Aronow or Greg Solano.

         [PROPOSED] ORDER GRANTING PLAINTIFF’S                        Case No. 2:22-cv-04355-JFW-JEM
         EX PARTE APPL. FOR PROTECTIVE ORDER       2
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     1 Defendants are further ORDERED not to serve deposition notices for either witness
     2 unless and until they have taken Yuga Labs’ 30(b)(6) deposition and Defendants’
     3 Lead Counsel has met and conferred with Yuga Labs’ Lead Counsel regarding the
     4 scope and necessity of depositions of these witnesses.
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     6           IT IS SO ORDERED.
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     8 Date:
                                                     Honorable John E. McDermott
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         [PROPOSED] ORDER GRANTING PLAINTIFF’S                    Case No. 2:22-cv-04355-JFW-JEM
         EX PARTE APPL. FOR PROTECTIVE ORDER     3
